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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 AT BOWLING GREEN

 UNITED STATES OF AMERICA                                                             PLAINTIFF


 v.                                                           Criminal No. 21-CR-00013-GNS


 MIRSAD RAMIC                                                                      DEFENDANT


                              TERMINATION OF APPEARANCE
                                   - Electronically Filed -


        The United States of America, through the undersigned Trial Attorney, respectfully

 requests that the Court direct the Clerk of Court to terminate her appearance on this docket. The

 undersigned will no longer be employed by the National Security Division as of February 28, 2025.



                                                            Respectfully submitted,


                                                     By:    /s/ Jessica K. Fender
                                                            Jessica K. Fender
                                                            Trial Attorney
                                                            U.S. Department of Justice
                                                            National Security Division
                                                            950 Pennsylvania Avenue, NW
                                                            Washington, DC 20530
                                                            Tel: 202-305-4596
                                                            Email: Jessica.Fender2@usdoj.gov
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 11, 2025, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF, which will send a notice of electronic filing

 to counsel for Defendant.



                                                            Respectfully submitted,


                                                    By:     /s/ Jessica K. Fender
                                                            Jessica K. Fender
                                                            Trial Attorney
                                                            U.S. Department of Justice
                                                            National Security Division
